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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


IN RE PHARMACEUTICAL INDUSTRY                           MDLNo.1456
AVERAGE WHOLESALE PRICE LITIGATIO
                                                        Civil Action No. 0l-CV-12257-PBS
THIS DOCUMENT RELATES TO:
                                                        Hon. Patti B. Saris
ALL ACTIONS
                                                        Magistrate Judge Marianne B. Bowler

        CLASS PLAINTIFFS' AND DEFENDANT GSK'S OFFER TO OBJECTOR
                      DEMRA JORDAN NOT TO OPPOSE
            UNTIMELY OPT-OUT OF SETTLEMENT OR LATE CLAIM

        Plaintiffs and Defendant SmithKline Beecham Corporation, d/bla GlaxoSmithKline

("GSK"), by and through their undersigned counsel, state the following with regard to Objector

Demra Jordan ("Objector").

        In her Response to Plaintiffs' Motion for Imposition of Appeal Bond Under Federal Rule

of Appellate Procedure 7 [Doc. No. 4715], Objector stated that "[b ]y the time Jordan filed her

objection, the deadlines to opt out (May 27,2007) or to file a claim (May 28,2007) had passed."

Id. at 13.

        The parties have no objection to extending the time for this Objector to opt out of the

settlement or to make a claim against the settlement, and neither Plaintiffs nor GSK will oppose

Objector's request for either approach.


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             CERTIFICATE      OF SERVICE BY LEXISNEXIS FILE & SERVE
                                  Docket No. MDL 1456

        I, Jennifer Fountain Connolly, hereby certify that I am one of Plaintiffs' attorneys and
that, on December 3, 2007 I caused copies of CLASS PLAINTIFFS' AND DEFENDANT
GSK'S OFFER TO OBJECTOR DEMRA JORDAN NOT TO OPPOSE UNTIMELY
OPT-OUT OF SETTLEMENT OR LATE CLAIM to be served on all counsel of record by
causing same to be posted electronically via Lexis-Nexis File & Serve.




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